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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NETLIST, INC.,                                )
                                              )
              Plaintiff,                      )
                                              )   Civil Action No. 2:21-CV-463-JRG
       vs.                                    )
                                              )   JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD.,                )
SAMSUNG ELECTRONICS AMERICA,                  )
INC., SAMSUNG SEMICONDUCTOR,                  )
INC.,                                         )
                                              )
              Defendants.                     )

                                    DISCOVERY ORDER

       After a review of the pleaded claims and defenses in this action, in furtherance of the

management of the Court’s docket under Federal Rule of Civil Procedure 16, and after receiving

the input of the parties to this action, it is ORDERED AS FOLLOWS:

1.     Initial Disclosures. In lieu of the disclosures required by Federal Rule of Civil Procedure

       26(a)(1), each party shall disclose to every other party the following information:

       (a)    the correct names of the parties to the lawsuit;

       (b)    the name, address, and telephone number of any potential parties;

       (c)    the legal theories and, in general, the factual bases of the disclosing party’s claims

              or defenses (the disclosing party need not marshal all evidence that may be offered

              at trial);

       (d)    the name, address, and telephone number of persons having knowledge of relevant

              facts, a brief statement of each identified person’s connection with the case, and a

              brief, fair summary of the substance of the information known by any such person;
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       (e)     any indemnity and insuring agreements under which any person or entity carrying

               on an insurance business may be liable to satisfy part or all of a judgment entered

               in this action or to indemnify or reimburse for payments made to satisfy the

               judgment;

       (f)     any settlement agreements relevant to the subject matter of this action; and

       (g)     any statement of any party to the litigation.

2.     Disclosure of Expert Testimony. A party must disclose to the other parties the identity

       of any witness it may use at trial to present evidence under Federal Rule of Evidence 702,

       703 or 705, and:

       (a)     if the witness is one retained or specially employed to provide expert testimony in

               the case or one whose duties as the party’s employee regularly involve giving expert

               testimony, provide the disclosures required by Federal Rule of Civil Procedure

               26(a)(2)(B) and Local Rule CV-26; and

       (b)     for all other such witnesses, provide the disclosure required by Federal Rule of Civil

               Procedure 26(a)(2)(C).

3.     Additional Disclosures. Without awaiting a discovery request,1 each party will make the

       following disclosures to every other party:

       (a)     provide the disclosures required by the Patent Rules for the Eastern District of

               Texas with the following modifications to P.R. 3-1 and P.R. 3-3:

                 i.   If a party claiming patent infringement asserts that a claim element is a

                      software limitation, the party need not comply with P.R. 3-1 for those claim



       1
         The Court anticipates that this disclosure requirement will obviate the need for requests
for production.



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                     elements until 30 days after source code for each Accused Instrumentality

                     is produced by the opposing party. Thereafter, the party claiming patent

                     infringement shall identify, on an element-by-element basis for each

                     asserted claim, what source code of each Accused Instrumentality allegedly

                     satisfies the software limitations of the asserted claim elements.

               ii.   If a party claiming patent infringement exercises the provisions of

                     Paragraph 3(a)(i) of this Discovery Order, the party opposing a claim of

                     patent infringement may serve, not later than 30 days after receipt of a

                     Paragraph 3(a)(i) disclosure, supplemental “Invalidity Contentions” that

                     amend only those claim elements identified as software limitations by the

                     party claiming patent infringement.

      (b)    produce or permit the inspection of all documents, electronically stored

             information, and tangible things in the possession, custody, or control of the party

             that are relevant to the pleaded claims or defenses involved in this action, except to

             the extent these disclosures are affected by the time limits set forth in the Patent

             Rules for the Eastern District of Texas; and

      (c)    provide a complete computation of any category of damages claimed by any party

             to the action, and produce or permit the inspection of documents or other

             evidentiary material on which such computation is based, including materials

             bearing on the nature and extent of injuries suffered, except that the disclosure of

             the computation of damages may be deferred until the time for Expert Disclosures

             if a party will rely on a damages expert.

4.    Protective Orders. The Court will enter the parties’ Agreed Protective Order.




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5.    Discovery Limitations. The discovery in this case is limited to the disclosures described

      in Paragraphs 1-3 together with:

      (a)    Interrogatories. Each side may serve up to forty (40) interrogatories.

      (b)    Requests for Admission.

                   i.     Each side may serve up to fifty (50) requests for admission, including

                          for authentication of documents.

      (c)    Depositions.

             i.     Fact Witness Deposition

                    (1)      Each side may take up to one hundred and ten (110) hours of fact

                             deposition in this action. The foregoing limit includes depositions

                             taken pursuant to Rule 30(b)(6) and 30(b)(1) and third party

                             witnesses. The limits above do not include depositions of expert

                             witness. Each deposition of a party witness shall count as at least

                             three (3) hours on the record.

                    (2)      The parties shall act reasonably and in good faith to schedule

                             depositions expeditiously, while accommodating the schedules of

                             counsel and witnesses.

                             With respect to depositions of party witnesses, the parties agree to

                             work in good faith to timely complete their document productions

                             and to offer additional testimony where necessary if documents

                             needed for fair examination of the witness are not timely produced.

                             If a party reasonably believes that an untimely production of

                             documents necessitates an additional deposition, both parties will




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                        work in good faith to resolve whether additional deposition

                        testimony is warranted consistent with Fed. R. Civ. P. 30(d)(1).

                  (3)   With respect to third party depositions, the parties agree to work in

                        good faith with each other to schedule third party depositions and to

                        timely produce documents received from the third parties

                        sufficiently in advance of the deposition.

                  (4)   All individual 30(b)(1) depositions shall be limited to seven (7)

                        hours in accordance with the Federal Rules of Civil Procedure and

                        subject to Rule 30(d)(1), except by agreement or for translated

                        depositions which are addressed in paragraph (iv) below.

                  (5)   The parties may serve more than one notice of deposition pursuant

                        to Rule 30(b)(6).

                  (6)   Depositions on written questions on third parties pursuant to Fed. R.

                        Civ. P. 31, as well as depositions on written questions of custodians

                        of business records for third parties, are also permitted but are not

                        included in the limits stated in paragraph 5.

            ii.   Expert Depositions

                  (1)   Each side is permitted a deposition of each of the other side’s experts

                        for up to seven (7) deposition hours for each expert report submitted

                        by that expert. A supplemental expert report on the same claim or

                        defense submitted sufficiently prior to the scheduled deposition

                        shall not automatically trigger an additional later deposition. For

                        example, an errata to an expert report submitted sufficiently prior to




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                          the scheduled deposition shall not automatically trigger an

                          additional later deposition. This provision does not prevent the

                          parties from meeting and conferring to discuss additional deposition

                          time that may be needed related to a supplemental expert report.

                          This provision also does not authorize supplemental expert reports.

                          Absent showing of good cause, no expert shall be required to sit for

                          a deposition for more than fourteen (14) deposition hours, however,

                          experts shall not be required to testify for more than seven (7) hours

                          of actual deposition time in one day unless stipulated or ordered.

            iii.   If the parties desire to depose a common witness (fact or expert witness),

                   the parties agree to work in good faith to schedule a single deposition of the

                   witness. The parties shall meet and confer in good faith to define the

                   number of total hours and the number of hours allotted to each party for that

                   deposition. There shall be a presumption that a witness will not be required

                   to sit for more than 10 hours on the record when multiple parties seek to

                   take the deposition on common issues. The presumption can be altered for

                   good cause.

            iv.    For any deposition requiring the use of a translator, only sixty-seven

                   percent (67%) of the time used will count toward the time limits (for

                   example, 10.5 hours of translated deposition time would count as 7 hours

                   for purposes of the deposition time limits).




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            v.     The parties may jointly agree to take oral depositions remotely via an online

                   teleconference service so long as the witness, when testifying, is present in

                   a country in which it is legal to take a deposition.

                   The parties incorporate the following language from paragraphs 16 and 17

                   of the prior Standing Order dated April 20, 2020 Regarding Pretrial

                   Procedures in Civil Cases Assigned to Chief District Judge Rodney Gilstrap

                   During the Present COVID-19 Pandemic:

                      1. Depositions should proceed forward using remote technologies that

                          are widely available for conducting depositions either telephonically

                          or by video conference. A variety of systems are available that allow

                          for all participants to be physically separate and for real-time exhibit

                          viewing to occur.       Many court reporting services offer such

                          platforms, and internet searches for “remote video depositions” and

                          “remote telephonic depositions” will display alternatives.

                      2. The party noticing a deposition shall specify the platform to be used

                          and the attorneys shall confer, if necessary, to agree on specific

                          procedures that may be appropriate under the circumstances.

            vi.    In the event that a witness is outside of the United States, the parties agree

                   to meet and confer in good faith to coordinate making that witness available

                   for a remote deposition as permitted under the applicable U.S. and

                   international law and as logistically feasible.

      (d)   Any party may later move to modify these limitations for good cause.




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6.    Privileged Information.        There is no duty to disclose privileged documents or

      information. However, the parties are directed to meet and confer concerning privileged

      documents or information after the Status Conference. By the deadline set in the Docket

      Control Order, the parties shall exchange privilege logs identifying the documents or

      information and the basis for any disputed claim of privilege in a manner that, without

      revealing information itself privileged or protected, will enable the other parties to assess

      the applicability of the privilege or protection. Any party may move the Court for an order

      compelling the production of any documents or information identified on any other party’s

      privilege log. If such a motion is made, the party asserting privilege shall respond to the

      motion within the time period provided by Local Rule CV-7. The party asserting privilege

      shall then file with the Court within 30 days of the filing of the motion to compel any proof

      in the form of declarations or affidavits to support their assertions of privilege, along with

      the documents over which privilege is asserted for in camera inspection.

7.    Signature. The disclosures required by this Order shall be made in writing and signed by

      the party or counsel and shall constitute a certification that, to the best of the signer’s

      knowledge, information and belief, such disclosure is complete and correct as of the time

      it is made. If feasible, counsel shall meet to exchange disclosures required by this Order;

      otherwise, such disclosures shall be served as provided by Federal Rule of Civil Procedure

      5. The parties shall promptly file a notice with the Court that the disclosures required under

      this Order have taken place.

8.    Duty to Supplement. After disclosure is made pursuant to this Order, each party is under

      a duty to supplement or correct its disclosures immediately if the party obtains information




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      on the basis of which it knows that the information disclosed was either incomplete or

      incorrect when made, or is no longer complete or true.

9.    Discovery Disputes.

      (a)    Except in cases involving claims of privilege, any party entitled to receive

             disclosures (“Requesting Party”) may, after the deadline for making disclosures,

             serve upon a party required to make disclosures (“Responding Party”) a written

             statement, in letter form or otherwise, of any reason why the Requesting Party

             believes that the Responding Party’s disclosures are insufficient. The written

             statement shall list, by category, the items the Requesting Party contends should be

             produced. The parties shall promptly meet and confer. If the parties are unable to

             resolve their dispute, then the Responding Party shall, within 14 days after service

             of the written statement upon it, serve upon the Requesting Party a written

             statement, in letter form or otherwise, which identifies (1) the requested items that

             will be disclosed, if any, and (2) the reasons why any requested items will not be

             disclosed. The Requesting Party may thereafter file a motion to compel.

      (b)    An opposed discovery related motion, or any response thereto, shall not exceed 7

             pages. Attachments to a discovery related motion, or a response thereto, shall not

             exceed 5 pages. No further briefing is allowed absent a request or order from the

             Court.

      (c)    Prior to filing any discovery related motion, the parties must fully comply with the

             substantive and procedural conference requirements of Local Rule CV-7(h) and (i).

             Within 72 hours of the Court setting any discovery motion for a hearing, each

             party’s lead attorney (see Local Rule CV-11(a)) and local counsel shall meet and




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             confer in person or by telephone, without the involvement or participation of other

             attorneys, in an effort to resolve the dispute without Court intervention.

      (d)    Counsel shall promptly notify the Court of the results of that meeting by filing a

             joint report of no more than two pages. Unless excused by the Court, each party’s

             lead attorney shall attend any discovery motion hearing set by the Court (though

             the lead attorney is not required to argue the motion).

      (e)    Any change to a party’s lead attorney designation must be accomplished by motion

             and order.

      (f)    Counsel are directed to contact the chambers of the undersigned for any “hot-line”

             disputes before contacting the Discovery Hotline provided by Local Rule CV-

             26(e). If the undersigned is not available, the parties shall proceed in accordance

             with Local Rule CV-26(e).

10.   No Excuses. A party is not excused from the requirements of this Discovery Order because

      it has not fully completed its investigation of the case, or because it challenges the

      sufficiency of another party’s disclosures, or because another party has not made its

      disclosures. Absent court order to the contrary, a party is not excused from disclosure

      because there are pending motions to dismiss, to remand or to change venue.

11.   Filings. Only upon request from chambers shall counsel submit to the court courtesy

      copies of any filings.

12.   Proposed Stipulations by the Parties Regarding Discovery.

      (a)    Service. The Parties agree to electronic service (including by email or via secure

             FTP sites) of all correspondence, documents filed under seal, document production,

             written discovery requests, and responses to written discovery requests.




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             Documents filed under seal will be immediately served on all counsel of record by

             email or other electronic means. The Parties agree that electronic service shall be

             subject to Local Rule CV-5(a)(3)(C)-(D).

      (b)    Privilege Log. The Parties agree that documents or information (i) created or

             conveyed internally to a Party or between a Party and their attorney of record in

             this matter subsequent to the filing of this case, and (ii) that are protected by the

             attorney-client privilege or work product doctrine, do not have to be identified on

             a privilege log, except as provided under Local Patent Rule 3-7.

      (c)    Production of Privileged or Restricted Materials. The Parties’ agreement

             regarding production of privileged or restricted materials is included in the Parties’

             Proposed Protective Order.

      (d)    Third Party Discovery. A Party who serves a subpoena in this case on a third

             party shall immediately provide a copy to the other parties. A Party who commands

             a deposition through a subpoena will invite and allow the other parties to attend

             such deposition. A Party who receives documents from a third party pursuant to a

             subpoena will reproduce those documents to the other parties within five (5)

             business days. Where reproduction of documents within five business days is not

             possible, the Party who received the documents will provide prompt notice to the

             other parties and will work in good faith to resolve the issue on a case-by-case basis.

             This section does not change the existing obligations and requirements set forth in

             Fed. R. Civ. P. 45, or other Federal Rules of Civil Procedure.

13.   Standing Orders. The parties and counsel are charged with notice of and are required to

      fully comply with each of the Standing Orders of this Court. Such are posted on the Court’s




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        website at http://www.txed.uscourts.gov/?q=court-annexed-mediation-plan. The substance
    .
        of some such orders may be included expressly within this Discovery Order, while others

        (including the Court’s Standing Order Regarding Protection of Proprietary and/or

        Confidential Information to Be Presented to the Court During Motion and Trial Practice)

        are incorporated herein by reference. All such standing orders shall be binding on the

        parties and counsel, regardless of whether they are expressly included herein or made a

        part hereof by reference.

        So ORDERED and SIGNED this 8th day of June, 2022.




                                                        ____________________________________
                                                        RODNEY GILSTRAP
                                                        UNITED STATES DISTRICT JUDGE




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